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 6

 7

 8                                   UNITED STATES DISTRICT COURT
 9                                       FOR THE DISTRICT OF OREGON
10                                             EUGENE DIVISION
11

12
     MATHIEU LACROSSE, an individual,                       Case No. 6:18-cv-1181-JR
13
                            Plaintiff,                      PLAINTIFF’S OBJECTION TO
14                                                          FINDINGS AND RECOMENDATIONS
            vs.
15                                                          Oral Argument Requested
     PAIGE CLARKSON, in her official and
     individual capacities as District Attorney of
16   Marion County, MARION COUNTY
     DISTRICT ATTORNEY’S OFFICE,
17
                            Defendants.
18

19
                                                  OBJECTIONS
20
            Plaintiff, Mathieu LaCrosse (“Plaintiff”), by and through his attorneys, Thenell Law Group,
21

22   P.C., hereby submits the following objections to the findings and recommendations of Magistrate

23   Judge Kasubhai made on March 22, 2019.
24   ///
25
     ///
26    PLAINTIFF’S OBJECTION TO FINDINGS AND RECOMENDATIONS - Page 1                                  2017-103

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                                                     I.        BACKGROUND
 1

 2            Mathieu LaCrosse (“LaCrosse”) brought suit under 42 USC § 1983 against the then District

 3   Attorney for Marion County, Walter Beglau (“Beglau”), in his official and individual capacities, as

 4   well as the Marion County District Attorney’s Office (“MCDA”). Comp., ECF No. 1. This complaint
 5   was originally filed on July 3, 2018. Id. Deputy District Attorney Paige Clarkson ran for District
 6
     Attorney in the 2018 election and was set to take office in January 2019. Beglau announced in
 7
     September 2018 that he was stepping down early and Governor Kate Brown appointed Clarkson to
 8
     take over as District Attorney on Oct 1, 2018. Due to the change in the identity of the District Attorney,
 9

10   LaCrosse sought leave from the court to amend his complaint. On October 29, 2018 LaCrosse filed an

11   Amended Complaint and on December 14, 2018 LaCrosse filed a Second Amended Complaint. Sec.

12   Am. Compl., ECF No. 26.
13            The Court has noted that the caption of LaCrosse’s Sec. Am. Compl. Identifies Clarkson in
14
     both her official and individual capacities, while the body of LaCrosse’s Second Amended Complaint
15
     only identifies her in her official capacity. Find. And Rec. Fn 1, ECF No. 32. The failure to include
16
     the words “and individual” in paragraph 7 of the Second Amended Complaint was a scrivener’s error
17
     and LaCrosse begs the Court leave to amend his complaint to accurately reflect the original wording
18

19   and the caption. 1

20            LaCrosse was a computer forensics investigator for the Marion County Sherriff’s Office

21   (“MCSO”) beginning in 2010. Sec. Am. Compl. ¶ 10, ECF No. 26. There was an Oregon State Bar
22

23   1
       The Court noted that LaCrosse has already filed three complaints and has had “sufficient attempts to properly cure
24   deficiencies in his Complaint.” Find. And Rec. p. 17, ECF No. 32. LaCrosse respectfully asks the Court to reconsider. The
     fluid and changing identity of the proper defendants has contributed to the multiple amendments. The request to allow
     Plaintiff to add “and individual” to paragraph 7 is minor and reasonable. It was more in the nature of a simple scrivener’s
25   error and not a deficiency of the pleading. The fact that the original complaint contains the full wording is evidence that
     Plaintiff intended to plead against whomever was the proper D.A. in their individual and official capacity.
26       PLAINTIFF’S OBJECTION TO FINDINGS AND RECOMENDATIONS - Page 2                                             2017-103

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     Complaint regarding the handling of digital forensic evidence filed against the MCDA in 2016. Id. at
 1

 2   ¶ 11. A criminal investigation cleared LaCrosse of any wrongdoing and concluded that he had

 3   followed MCSO practices regarding the handling and storage of digital forensic evidence. Id. at ¶ 14.

 4   The MCDA initiated its own investigation of LaCrosse and concluded that, despite the finding in the
 5   criminal investigation, the MCDA would no longer call LaCrosse as a witness in future cases, a process
 6
     known as Brady listing. 2 Id. at ¶¶ 16-7. Because of the Brady listing Plaintiff was effectively prevented
 7
     from doing the job he had previously been doing. Id. at ¶ 17.
 8
             LaCrosse’s suit alleges that the Brady listing was improper retaliation and that the listing was
 9

10   made without giving LaCrosse notice and opportunity to be heard thus depriving him of property and

11   liberty interests as well as subjecting him in unequal treatment under the law. Id. at ¶¶ 22-34. The crux

12   of LaCrosse’s suit is that the Defendants were the legal and proximate cause of the harms complained
13   of therein. Id. at ¶¶ 24-5, 33. LaCrosse objects to the narrow reading of paragraph 23, quoted by the
14
     Court. Find. And Rec. p. 4, ECF No. 32. 3
15
             While the Court ought to rely on the Second Amended Complaint as operative, Plaintiff begs
16
     in the interest of justice that the context from the other two complaints be considered when evaluating
17
     the pleadings.
18

19   ///

20

21
     2
       Brady v. Maryland, 373 U.S. 83 (1963).
22   3
       Plaintiff admits that this paragraph is not an exemplar of pleading drafting, Clarkson and MCDA did not directly
     “refuse to put Plaintiff back to full-time and full-duty work.” Rather when read as a whole the complaint identifies
23   Defendants as the legal and proximate cause of the harms. To the extent that editing would clarify this paragraph,
     LaCrosse begs for leave to amend to clarify the relationship between Defendants and the harms alleged. Like the request
24   to amend paragraph 7 this request is narrow and does not seek to add new facts or claims, merely to clarify. As such the
     Court should freely grant leave to amend under FRCP 15(a). Further under FRCP 15(b) amendments are allowed to
     conform pleadings to the evidence. Here, clearly Defendants did not themselves refuse to put Plaintiff back to full-time
25   and full-duty, rather the Defendants were the legal and proximate cause of the Plaintiff not being put back to full-time
     and full-duty.
26       PLAINTIFF’S OBJECTION TO FINDINGS AND RECOMENDATIONS - Page 3                                           2017-103

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                                                II.        DISCUSSION
 1

 2              A. Plaintiff Has Pled Violations of the Fourteenth Amendment Due Process.

 3          Plaintiff alleges causes of action under the Fourteenth Amendment to the United States

 4   Constitution for violations of procedural due process, substantive due process and equal protection
 5   under the law. The Defendants have deprived the Plaintiff of both a property interest and a liberty
 6
     interest by placing him on the Brady list without notice and opportunity to be heard and refusing to
 7
     remove him from the list when mitigating evidence was presented to them.
 8
                1. Plaintiff’s Property Interest.
 9

10          The cases cited by the court stand for the proposition that a “property interest” in the terms and

11   conditions of public employment is found where the employee has a reasonable expectation of

12   entitlement “deriving from existing rules or understandings that stem from an independent source.”
13   Wedges/Ledges of Cal., Inc. v. City of Phoenix, 24 F.3d 56, 62 (9th Cir. 1994); see also Board of
14
     Regents v. Roth, 408 U.S. 564 (1972); Ulrich v. City of San Francisco, 308 F.3d 968 (9th Cir. 2002);
15
     Stiesberg v. State of Cal., 80 F.3d 353 (9th Cir. 1996).
16
            The courts have not generally found a right to a particular position to be a constitutionally
17
     protected property interest. Stiesberg, 80 F.3d at 357. However, that is not quite the argument that
18

19   Plaintiff is advancing in this action. Unlike the lateral transfer in Stiesberg, here the Plaintiff is being

20   effectively demoted based on the Defendant’s unjustified and categorical refusal to consider him as a

21   witness. The courts have found that “[a] demotion or … an alleged constructive demotion can
22
     implicate a protected property right for purposes of the Due Process Clause.” Maner v. Cty. of
23
     Stanislaus, 725 Fed Appx 485, 488 (9th Cir 2018) (citing Stiesberg v. California, 80 F.3d 353, 357
24
     (9th Cir. 1996)). That is precisely the situation here. Plaintiff enjoyed a property interest in being an
25

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     investigative officer and participant on the SWAT team. Following Defendants’ unjust Brady listing
 1

 2   he has been constructively demoted. The fact that MCSO has kept Plaintiff as a de facto deputy in not

 3   legally equivalent to the de jure employment he enjoyed prior to his listing.

 4          The remainder of the cases cited by the Court can be distinguished similarly to Stiesberg. In
 5   Jackson v City of Los Angeles, 46 F.3d 1142 (9th Cir. 1995) the plaintiff was “suspended for fifteen
 6
     days for misusing his firearm and for leaving his post without authorization.” Here Plaintiff was
 7
     cleared of any wrongdoing and was nevertheless subjected to Brady listing by the Defendants.
 8
     Additionally, the Jackson Court stated in dicta that a deprivation of the property interest in continued
 9

10   employment could be satisfied short of discharge. Id. (“[t]o establish constructive discharge, [plaintiff]

11   must show that a reasonable person would be forced to quit” citing Watson v. Nationwide Ins. Co.,

12   823 F.2d 360, 361 (9th Cir. 1987) (holding that this determination is “normally a factual question left
13   to the trier of fact”). Unlike Jackson, Plaintiff here contends that despite his following the practice of
14
     his employer he was subjected to treatment that made it constructively impossible to perform the job
15
     he had been doing for over fifteen years.
16
            In Barnes v. City of Phoenix, 2009 WL 3424785 (D. Ariz. Oct. 22, 2009) the plaintiff
17
     complained that deprivation of a city vehicle and overtime pay were deprivations of property interest
18

19   in employment. The court rightly dismissed. This case is substantively different. For an investigatory

20   law enforcement officer, it is not an ancillary or peripheral benefit to be able to testify in criminal

21   cases. Testimony is a core job requirement of a computer forensic investigator and the fact that
22
     Plaintiff was removed from that position because of the Brady listing is prima facie evidence of such.
23
     Plaintiff ought to have an opportunity to have a trier of fact determine if such amounts to constructive
24
     termination. Plaintiff is not arguing that he had a property interest in overtime pay, or a SWAT posting.
25

26    PLAINTIFF’S OBJECTION TO FINDINGS AND RECOMENDATIONS - Page 5                                 2017-103

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     Those are important factors that may come into play when a jury is evaluating damages, but the core
 1

 2   issue of this suit is that Plaintiff has been denied the ability to be an investigative police officer after

 3   investing significant time into pursuing that career. The fact that the deprivation was caused by the

 4   Defendants’ actions in violation of Plaintiff’s due process protections makes it actionable under §
 5   1983.
 6
             Plaintiff does indeed rely upon the sources identified by the Court, but the Court errs in finding
 7
     that the Brady Best Practices Policy (the “Policy”) defines Plaintiff’s relationship with the MCSO.
 8
     Best Practices for Navigating Brady v. Maryland in Oregon, published March 31, 2014. The Policy
 9

10   was established to guide and constrain the decision-making process of the DA’s office and the District

11   Attorney. The practice of Brady listing must necessarily comport with the existing constitutional

12   protections afforded to Plaintiff including due process and this Policy is evidence that the Defendants
13   had considered this fact. Paige Clarkson was involved in the creation of this Policy and ought to be
14
     well aware of the purposes of the policy.
15
             Throughout the Policy the drafters used the form “should” indicative of a mandate or constraint
16
     on decision-making. 4 “Agencies should implement comprehensive and consistent Brady policies
17
     reflective of best practice.” Best Practices, at 3. “Sound procedure should include review of relevant
18

19   allegations to consider whether they are sustained.” 5 Id. at 4. In the “DA Decision-Making Process”

20   the Policy states that “comprehensive Brady procedure should include ways to identify … witnesses

21   whose conduct may disqualify them as testifiers.” Id. at 5. “Best Practices should include: …
22

23
     4
       Merriam-Webster defines “shall” (present tense of “should”) to mean (2)(a) “a command or exhortation”; (2)(b) “used
     in laws, regulations, or directives to express what is mandatory.” The Policy is such a directive and the use of the
24   mandatory verb “shall” or “should” is important evidence of the legal constraints the drafters recognized on the
     discretion to apply a Brady listing.
     5
       It is important again to note that the allegations made against Plaintiff were not sustained. We don’t know if the
25   Defendants considered that in their decision-making process because no notice or opportunity to be heard were provided
     to Plaintiff.
26       PLAINTIFF’S OBJECTION TO FINDINGS AND RECOMENDATIONS - Page 6                                         2017-103

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     [g]athering of relevant information … not merely rumor or allegation.” Id. The Policy by its own terms
 1

 2   is designed to constrain the decision-making process of the DA in the identification of potential Brady

 3   witnesses, and prevent listing officers based on rumor. 6 The Plaintiff was denied notice and

 4   opportunity to be heard despite the Policy stating that notification methodology “requires: …
 5   create[ing] opportunity for affected witnesses to be heard.” Ultimately, Brady articulates a fairness
 6
     rule 7 and, while the original rule was designed to with the rights of criminal defendants in mind, this
 7
     represents the danger that the rule will be applied unfairly towards law enforcement witnesses.
 8
             While the Marion County disciplinary policies and the collective bargaining agreement do not
 9

10   bind the Defendants directly, they are important sources that should be considered when evaluating

11   whether the Plaintiff had a reasonable expectation in the particulars of his employment. Plaintiff did

12   not expect to be subjected to discipline without just cause and he had a reasonable expectation of
13   maintaining his role as a forensic investigator and detective, or at a minimum a patrol officer. 8 Put
14
     another way he had a property interest in not having a Brady listing and the defendants deprived him
15
     of that interest.
16
                  2. Plaintiff’s Liberty Interest.
17
             Plaintiff was subjected to a deprivation of a constitutionally protected liberty interest
18

19   guaranteed by the Fourteenth Amendment. Bollow v. Fed. Res. Bank of San Fran., 650 F.2d 1093,

20   1100 (9th Cir. 1981) (the “liberty interest protected by the due process clause of the fifth and fourteenth

21

22   6
       Instead the Defendants ignored the findings of the criminal investigators and subjected Plaintiff to Brady listing
23   presumably because the MCDA had been exposed to an embarrassing OSB complaint.
     7
       “[S]ociety wins not only when the guilty are convicted but when criminal trials are fair”. Brady, 373 U.S. at 87.
24
     8
       Plaintiff’s Brady designation and the surrounding investigations have resulted in him being removed from his role as a
     detective and forensic investigator and returned to patrol duties. Then he was removed from Patrol and moved to judicial
     security. He was barred from returning to his former roles including SWAT due to the Brady listing. Within his
25   department he has been prevented from applying to other positions. Ultimately Plaintiff was directed not ever to apply
     for another position and was barred from any contact with the public.
26       PLAINTIFF’S OBJECTION TO FINDINGS AND RECOMENDATIONS - Page 7                                          2017-103

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     amendments encompasses an individual’s freedom to work and earn a living”). While termination
 1

 2   recognized as an important indicium of an unconstitutional deprivation of liberty it is not a strict

 3   requirement. Guzman v. Shewry, 552 F.3d 941, 955 (9th Cir. 2009) (“made in connection with the

 4   termination of employment or the alteration of some right or status” (emphasis added)); Erickson v.
 5   U.S. ex rel. Dept. of Health and Human Services, 67 F.3d 858, 862 (9th Cir. 1995); Vanelli v. Reynolds
 6
     School Dist. No. 7, 667 F.2d 773, 777 (9th Cir. 1982).
 7
             Here, it is clear that the Plaintiff did suffer the sort of reputational harm that was identified by
 8
     the Supreme Court in Board of Regents v. Roth, 408 U.S. 564, 573 (1972) (“a stigma or other disability
 9

10   that foreclosed his freedom to take advantage of other employment opportunities.”). The Court here

11   identified the severe employment consequences that a Brady listing has for a law enforcement officer. 9

12   The Court has also conflated the prongs of the three-part test in Vanelli by finding the fact that Plaintiff
13   was not terminated by MCSO demonstrated that the Brady list was not sufficiently stigmatizing. Court.
14
     Find. And Rec. p. 13, ECF No. 32. Rather the proper analysis is to first determine if the labelling of a
15
     police officer as untruthful is stigmatizing under Roth and only then look to the termination or the
16
     alteration of some right or status under Vanelli. Here Plaintiff has made a prima facie showing that
17
     Brady listing is sufficiently stigmatizing.
18

19           In support of this Objection Plaintiff offers his declaration, filed herewith. Plaintiff was in the

20   hiring process at two other agencies and was forced to withdraw his applications. Failing in the hiring

21   process becomes something that other prospective employers look at and Plaintiff wanted to avoid
22
     having those failed applications in his file. Furthermore, Plaintiff has declared that his review of
23
     agencies with available open positions decline to consider applicants with a Brady designation.
24

25   9
      See Jonathan Abel, Brady’s Blind Spot: Impeachment Evidence in Police Personnel Files and the Battle Splitting the
     Prosecution Team, 67 Stan. L. Rev. 743 (April 2015).
26       PLAINTIFF’S OBJECTION TO FINDINGS AND RECOMENDATIONS - Page 8                                        2017-103

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     Additionally, Plaintiff has been prevented from applying, within the MCSO, to positions he is qualified
 1

 2   for because of his Brady listing. Finally, Plaintiff has demonstrated that his rights and status as a

 3   forensic investigator, competent to testify, were altered by the Defendant’s actions.

 4                  B. Plaintiff’s Right to Equal Protection Was Violated.
 5              As a separate and distinct claim, the Plaintiff has alleged that his rights to equal protection
 6
     under the law were violated because the Defendants listed and maintained Plaintiff on the Brady list
 7
     despite his actions in conformance with other similarly situated officers. Namely, the Defendants
 8
     have not Brady listed other MCSO officers for the same or similar conduct. The state action here
 9

10   bears no “rational relation to a legitimate state interest.” New Orleans v. Dukes, 427 U.S. 297, 303

11   (1976). While deferring to the state actor the courts ought not to condone conduct that is “malicious,

12   irrational, or plainly arbitrary.” Lockary v. Kayfetz, 917 F.2d 1150, 1155 (9th Cir. 1990).
13              Here the actions of the DA and MCDA were both irrational and plainly arbitrary. The actions
14
     were irrational because they were taken in direct contravention of the adopted best practices Policy
15
     as discussed above. 10 The actions were also plainly arbitrary because they were taken despite there
16
     being no finding of untruthfulness on the part of the Plaintiff. The Supreme Court has held that the
17
     State may not rely on action whose “relationship to an asserted goal is so attenuated as to render the
18

19   distinction arbitrary or irrational.” City of Cleburne, Tex. V. Cleburne Living Center, 473 U.S. 432,

20   446 (1985). Here there is undoubtedly an important State interest in conducting fair and impartial

21

22   10
          The Defendants failed to:
            • “Ensure that Law Enforcement is provided an opportunity to be heard”;
23          • “Gather [] relevant information” and instead acted on “mere[] allegation or rumor”;
            • Use “[t]iered level of Brady designations”;
24          • “seek inout from command staff prior to any formal Brady decision”;
            • “consider status of Internal Affairs investigation”;
25          • “Create opportunity for affected witnesses to be heard”;
            • Find a “direct nexus to employment”.
26    PLAINTIFF’S OBJECTION TO FINDINGS AND RECOMENDATIONS - Page 9                                          2017-103

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     trials and in not being a party to perjured testimony by untruthful witnesses. However, the
 1

 2   application of Brady listing to an officer who was cleared of wrongdoing and where no allegation of

 3   untruthfulness was found can have no relationship to that asserted goal. Despite the clearly

 4   established law preventing arbitrary or irrational application of the law, the Defendants have violated
 5   Plaintiff’s rights to equal protection under the Fourteenth Amendment. Furthermore, Plaintiff has
 6
     alleged that the Defendants initiated Brady listing in retaliation for his part in exposing the MCDA to
 7
     an embarrassing OSB complaint and subsequent criminal investigation. The bare fact that the
 8
     MCDA conducted an “investigation” does not in itself create conditions necessary to find the
 9

10   Defendants acted without malice, acted rationally, or that they were not arbitrary.

11                                             III.       CONCLUSION

12          This Court must take the facts, as pled, as true and apply them to the law in a light most
13   favorable to the Plaintiff. The Plaintiff has properly alleged a property interest in the terms and
14
     conditions of his employment which included a negative Brady listing. Further, Plaintiff has
15
     properly alleged a liberty interest because the Defendants deprived him of his freedom to work and
16
     earn a living as a forensic investigator. Finally, the Plaintiff has alleged a violation of his equal
17
     protection rights because the Defendants’ Brady listing was irrational and arbitrary and there exists
18

19   evidence of a malicious motive.

20          Plaintiff has filed three Complaints and understands the Court’s hesitancy to allow further

21   amendment. However, Plaintiff seeks leave to amend paragraph seven of his Second Amended
22
     Complaint to reinsert the mistakenly omitted language alleging Paige Clarkson acted in her
23
     individual capacity which is contained in the caption as well as the original complaint. Plaintiff seeks
24
     further leave to clarify and make more definite paragraph 23 of his Second Amended Complaint to
25

26    PLAINTIFF’S OBJECTION TO FINDINGS AND RECOMENDATIONS - Page 10                                  2017-103

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     make clear that Defendants were the proximate cause of the harms complained of therein. Neither of
 1

 2   these requested amendments substantially alter the facts as pled nor do they seek to add new causes

 3   of action or claims for relief and both should be granted in the interests of justice.

 4            Plaintiff, by filing this objection, does not waive his right to de novo consideration of the
 5   factual issues or to appellate review of these findings and any order that is entered based upon
 6
     theme.
 7
        Dated this 5th day of April 2019.                                  THENELL LAW GROUP, P.C.
 8

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